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   9
  10                      UNITED STATES DISTRICT COURT
  11        CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
  12
  13 NEMAN BROTHERS & ASSOC.,                     Case No. 2:20-cv-11181-CAS-JPRC
     INC., a California Corporation,
  14
                  Plaintiff,                      REPLY DECLARATION OF MARK
  15                                              LEE AND WEIWEI LE IN
           v.                                     SUPPORT OF INTERFOCUS,
  16                                              INC.’S MOTION FOR: SUMMARY
     INTERFOCUS, INC. d.b.a.
  17 www.patpat.com, a Delaware                   JUDGMENT
     Corporation; CAN WANG, and
  18 individual, and DOES 1-10, inclusive.,
  19              Defendants.                     Date: August 23, 2021
                                                  Time: 10:00 am
  20                                              Courtroom: 8D
     INTERFOCUS, INC. d.b.a.
  21 www.patpat.com, a Delaware                   The Hon. Christina A. Snyder
     Corporation; CAN WANG, an
  22 individual, and DOES 1-10, inclusive,
  23              Counterclaim Plaintiffs,
  24        v.
  25 NEMAN BROTHERS & ASSOC.,
     INC., a California Corporation,
  26
                  Counterclaim Defendant.
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          REPLY DECLARATION OF MARK LEE AND WEIWEI LE IN SUPPORT OF INTERFOCUS,
                          INC.’S MOTION FOR: SUMMARY JUDGMENT
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   1         I, Mark S. Lee, declare:
   2         1.    I am a lawyer admitted to practice before this Court, and am a partner
   3 at Rimon, P.C., counsel of record for Interfocus, Inc. d.b.a. www.patpat.com
   4 (“Interfocus”) in this matter. I have personal knowledge of the following facts
   5 except where otherwise indicated based on my personal participation in the matters
   6 described, and if called upon as a witness, I could and would competently testify
   7 thereto.
   8         2.    Plaintiff’s opposition to InterFocus’ motions included some
   9 communications between previous counsel for InterFocus and present counsel for
  10 Neman brothers concerning certain negotiations that took place between them in the
  11 fall of 2020. However, I was provided copies of all written communications
  12 between former counsel and Plaintiff’s counsel herein, and in reviewing Plaintiff’s
  13 opposition exhibit, I realized that Plaintiff’s counsel had not attached all such
  14 communications to its opposition, and specifically, did not attached certain emails in
  15 which former counsel for InterFocus explained why InterFocus was not willing to
  16 enter into a license agreement on the terms Neman Brothers demanded.
  17         3.    Attached as Exhibit 1 to this declaration is a true and correct copy of an
  18 email string between InterFocus’ former counsel and plaintiff’s counsel herein in
  19 which they explain why InterFocus did not agree to Neman Brothers’ demands.
  20         4.    In reviewing Plaintiff’s objections to the paragraph 14 of the
  21 Declaration of Weiwei Le filed in support of InterFocus’ motion for summary
  22 judgment, which includes a chart, I noted that Plaintiff claims that “no real business
  23 record was ever produced” to support the information in that chart. That is incorrect.
  24 InterFocus did produce in discovery print screens from the computer database it
  25 maintains in its normal course of business that state when in 2020 Interfocus
  26 removed from its online sales platform the garments Neman Brothers had
  27 complained about in its September 2020 letter. True and correct copies of those
  28 print screens are attached as Exhibit 2. Further, although InterFocus originally
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         REPLY DECLARATION OF MARK LEE AND WEIWEI LE IN SUPPORT OF INTERFOCUS,
                         INC.’S MOTION FOR: SUMMARY JUDGMENT
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   1 objected to producing records of allegedly infringing garment sales it had stopped
   2 selling before it entered into the previous settlement agreement with Neman
   3 Brothers in March of 2020, and Neman Brothers did not seek to compel further
   4 responses based on those objections, InterFocus concurrently produces similar print
   5 screens from the same online database to show the dates in 2019 on which it stopped
   6 selling the other garments shown in the summary chart that is in paragraph 14 of
   7 Ms. Le’s earlier declaration. See the concurrently Reply Le declaration and Ex. 3.
   8        I declare under penalty of perjury under the laws of the United States that the
   9 foregoing is true and correct.
  10        Executed this 9th day of August, 2021, at Los Angeles, California.
  11
                                                     /s/ Mark S. Lee
  12                                                   Mark S. Lee
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          REPLY DECLARATION OF MARK LEE AND WEIWEI LE IN SUPPORT OF INTERFOCUS,
                          INC.’S MOTION FOR: SUMMARY JUDGMENT
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     1                             DECLARATION OF WEIWEI LE
     2            I, Weiwei Le, declare:
     3       1.         I am informed and believe that Neman Brothers has claimed that
     4 lnterFocus did not produce any business records to support the information I
     5 provided in paragraph 14 of the declaration I provided in support oflnterFocus'
     6 motion for summary judgment. I personally supervised the gathering ofdocuments
     7 Neman Brothers requested in the Request for Production of Documents it served on
     8 InterFocus, and can advise the Court that Neman Brothers is mistaken. InterFocus
     9 maintains its sales records on a computer database in the normal course of its
    10 business, and sales information for specific garments can be obtained by making an
    11 inquiry to that database. Copes of such print screens for the garments whose sales
    12 history is summarized in paragraph 14 of my earlier declaration have been provided
    13 to counsel, and, I am informed and believe, some of them, specifically the records
    14 showing when in 2020 InterFocus stopped selling some the garments shown in the
    15 paragraph 14 chart, were produced to Neman Brothers in response to the Request for
    16 Production of Documents it served on InterFocus. True and correct copies of those
   17 records are attached as Exhibit 2.
   18       2.          Attached as Exhibit 3 are true and correct print screen copies of records
   19 from that same database which show the dates in 2019 on which InterFocus stopped
   20 selling the other garments shown in the summary chart in paragraph 14 of my earlier
    21 declaration.
   22         I declare under penalty of perjury under the laws of the United States that the
   23 foregoing is true and correct.
   24         Executed this 9th day of August, 2021, at Hayward, California.

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   26                                                     Weiwei Le
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              REPLYREPLY DECLARATION OF MARK LEE AND WEIWEI LE IN SUPPORT OF
                     INTERFOCUS, INC.’S MOTION FOR: SUMMARY JUDGMENT
